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                                 EXHIBIT D

                                Proposed Order
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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

In re:                                                           PROMESA
                                                                 Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
          as representative of                                   (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
al.,                                                             This filing relates to the
                     Debtors. 1                                  Commonwealth, HTA and ERS.


            ORDER GRANTING THREE HUNDRED FORTY-SEVENTH
      OMNIBUS OBJECTION (SUBSTANTIVE) OF THE COMMONWEALTH OF
     PUERTO RICO, THE PUERTO RICO HIGHWAYS AND TRANSPORTATION
 AUTHORITY, AND THE EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT
     OF THE COMMONWEALTH OF PUERTO RICO TO MISCLASSIFIED AND
                         OVERSTATED CLAIMS

                 Upon the Three Hundred Forty-Seventh Omnibus Objection (Substantive) of the

Commonwealth of Puerto Rico, Puerto Rico Highways and Transportation Authority, and the

Employees Retirement System of the Government of the Commonwealth of Puerto Rico to




1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
    and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
    the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
    3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
    Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
    Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
    Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
    Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
    (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto
    Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four
    Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”, and
    together with the Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”)
    (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
    case numbers are listed as Bankruptcy Case numbers due to software limitations)
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Misclassified and Overstated Claims (“Three Hundred Forty-Seventh Omnibus Objection”) 2 of

the Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Highways and

Transportation Authority (“HTA”), and the Employees Retirement System of the Government of

the Commonwealth of Puerto Rico (“ERS,” and together with the Commonwealth, the “Debtors”),

dated June 18, 2021, for entry of an order reclassifying and/or modifying certain claims filed

against the Debtors, as more fully set forth in the Three Hundred Forty-Seventh Omnibus

Objection and supporting exhibits thereto; and the Court having jurisdiction to consider the Three

Hundred Forty-Seventh Omnibus Objection and to grant the relief requested therein pursuant to

PROMESA section 306(a); and venue being proper pursuant to PROMESA section 307(a); and

due and proper notice of the Three Hundred Forty-Seventh Omnibus Objection having been

provided to those parties identified therein, and no other or further notice being required; and the

claims identified in the column titled “Claims to be Reclassified” in Exhibit A to the Three

Hundred Forty-Seventh Omnibus Objection (collectively, the “Claims to Be Reclassified”)

asserting an overstated amount and/or an incorrect or improper priority or classification, as set

forth in Exhibit A hereto; and the Court having determined that the relief sought in the Three

Hundred Forty-Seventh Omnibus Objection is in the best interest of the Debtors, their creditors,

and all the parties in interest; and the Court having determined that the legal and factual bases set

forth in the Three Hundred Forty-Seventh Omnibus Objection establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor, it is

                ORDERED that the Three Hundred Forty-Seventh Omnibus Objection is

GRANTED as set forth herein; and it is further



2
    Capitalized terms not otherwise defined herein shall have the meanings given to such terms in
    the Three Hundred Forty-Seventh Omnibus Objection.


                                                 2
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                ORDERED that the Claims to Be Reclassified are hereby reduced and/or

reclassified, such that the Claims to Be Reclassified shall now only be considered claims asserted

as general unsecured claims in a reduced amount, as set forth in the column titled “Modified

Claim” in Exhibit A to the Three Hundred Forty-Seventh Omnibus Objection, respectively; and it

is further

                ORDERED that the Debtors’ right to object to the Claims to Be Reclassified is

reserved; and it is further

                ORDERED that Prime Clerk is authorized and directed to correct the Claims to Be

Reclassified to reflect their status as general unsecured claims on the official claims register in the

Title III Cases; and it is further

                ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.



Dated:


                                                      Honorable Judge Laura Taylor Swain
                                                       United States District Judge




                                                  3
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                                  ANEXO D

                               Orden propuesta
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                   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                        PARA EL DISTRITO DE PUERTO RICO

In re:                                                           PROMESA
                                                                 Título III
JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
          como representante del                                 (Administrado Conjuntamente)
ESTADO LIBRE ASOCIADO DE PUERTO RICO et
al.,                                                             La presente radicación guarda
                       Deudores. 1                               relación con el ELA, el SRE y la
                                                                 ACT.

    ORDEN POR LA QUE SE CONCEDE LA TRICENTÉSIMA CUADRAGÉSIMA SÉPTIMA
        OBJECIÓN GLOBAL (SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE
     PUERTO RICO, DE LA AUTORIDAD DE CARRETERAS Y TRANSPORTACIÓN DE
    PUERTO RICO Y DEL SISTEMA DE RETIRO DE LOS EMPLEADOS DEL GOBIERNO
                DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO A
       RECLAMACIONES ERRÓNEAMENTE CLASIFICADAS Y SOBREESTIMADAS

                 Vista la Tricentésima cuadragésima séptima objeción global (sustantiva) del

Estado Libre Asociado de Puerto Rico, de la Autoridad de Carreteras y Transportación de Puerto



1
    Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
    Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
    cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
    Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
    federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
    (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
    "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
    Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
    cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
    Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
    dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
    de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
    "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
    identificación contributiva federal: 3801) (Los números de los casos de Título III están
    enumerados como números de Casos de Quiebra debido a ciertas limitaciones en el programa
    informático).
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Rico y del Sistema de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto

Rico a Reclamaciones erróneamente clasificadas y sobreestimadas (la "Tricentésima

cuadragésima séptima objeción global") 2 del Estado Libre Asociado de Puerto Rico (el "ELA"),

de la Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT") y del Sistema de Retiro

de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE", y junto con

el ELA y la ACT, los "Deudores"), de fecha 18 de junio de 2021, en la que se solicita que se dicte

una orden que reclasifique y/o modifique determinadas reclamaciones radicadas contra los

Deudores, según se expone con más detalle en la propia Tricentésima cuadragésima séptima

objeción global y en los anexos justificativos de la misma; y al tener el Tribunal jurisdicción para

atender la Tricentésima cuadragésima séptima objeción global y para conceder el remedio en ella

solicitado conforme a PROMESA, sección 306(a); y siendo la sede judicial competente conforme

a PROMESA, sección 307(a); y habiéndose efectuado, en tiempo y forma, la notificación de la

Tricentésima cuadragésima séptima objeción global a aquellas partes que en ella se identifican, sin

ser necesario efectuar ninguna otra notificación; y habiendo alegado las reclamaciones

identificadas en la columna titulada "Reclamaciones que han de ser reclasificadas" del Anexo A

de la Tricentésima cuadragésima séptima objeción global (conjuntamente, las "Reclamaciones que

han de ser reclasificadas") un monto sobreestimado y/o una prioridad o una clasificación incorrecta

o indebida, como se indica en el Anexo A del presente documento; y habiendo determinado el

Tribunal que el remedio solicitado en la Tricentésima cuadragésima séptima objeción global

redunda en el mejor interés de los Deudores y de sus acreedores, así como de la totalidad de las

partes interesadas; y habiendo determinado el Tribunal que las bases de hecho y de derecho



2
    Los términos con mayúscula que no estén definidos en el presente documento tendrán el
    significado que les haya sido atribuido en la Tricentésima cuadragésima séptima objeción global.


                                                  2
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establecidas en la Tricentésima cuadragésima séptima objeción global establecen una causa

justificada para el remedio aquí concedido; y tras la debida deliberación y concurriendo suficientes

motivos para ello, por medio del presente,

               SE ORDENA que SE CONCEDA la Tricentésima cuadragésima séptima objeción

global, según se establece en el presente documento; además

               SE ORDENA que las Reclamaciones que han de ser reclasificadas se reduzcan y/o

reclasifiquen por la presente, de modo tal que las Reclamaciones que han de ser reclasificadas

ahora solo se consideren como reclamaciones generales no garantizadas en un monto reducido, tal

como se indica en la columna titulada "Reclamación Modificada" en el Anexo A de la

Tricentésima cuadragésima séptima objeción global, respectivamente; asimismo

               SE ORDENA que el derecho que asiste a los Deudores a objetar a las

Reclamaciones que han de ser reclasificadas quede reservado; también

               SE ORDENA que Prime Clerk quede autorizada, y reciba instrucciones, para

corregir las Reclamaciones que han de ser reclasificadas para que reflejen su condición de

reclamaciones generales no garantizadas en el registro oficial de reclamaciones en los Casos de

Título III; y por último

               SE ORDENA que este Tribunal conserve jurisdicción para atender y resolver la

totalidad de las materias que surjan de, o en relación con, la implementación, interpretación o

ejecución de la presente Orden.



Fecha:


                                                     Su señoría, la juez Laura Taylor Swain
                                                     Juez de Distrito de los Estados Unidos
                                                     (United States District Judge)



                                                 3
